Following a jury trial, appellee, John C. Dietz, was found guilty on one count of kidnapping, in violation of R.C.2905.01, and four counts of gross sexual imposition, in violation of R.C. 2907.05. On March 26, 1987, the Lake County Court of Common Pleas sentenced appellee to serve an indeterminate term of incarceration of three to fifteen years on the count of kidnapping, and two years on each count of gross sexual imposition, each count to run concurrently. Having been found guilty of a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, newly amended R.C. Chapter 2950.
By judgment entry filed July 16, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's Law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the judgment of the trial court is affirmed.
                           ------------------------------- JUDGE WILLIAM M. O'NEILL
FORD, P. J., NADER, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.